         Entered on Docket July 11, 2022                      Below is the Order of the Court.




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 1                                                             Timothy W. Dore
                                                               U.S. Bankruptcy Court
 2                                                             (Dated as of Entered on Docket date above)

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 9
                           UNITED STATES BANKRUPTCY COURT
10                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
     IN RE:
11                                                            Case No. 21-10025-TWD
     JOAN RAIDER RAWLINGS,
12                                                            Chapter: 13
                                  Debtors.
13                                                        EX PARTE ORDER TO SHORTEN
14                                                        TIME

15
              THIS MATTER having come before the Court on the Debtor’s Ex Parte Motion for an
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     Order to Shorten Time on Motion to Approve Reverse Mortgage, the Court finding efforts to
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18   provide service adequate, that exigent circumstances exist which would cause harm to Debtor

19   if the hearing were not held on shortened time, and for good cause appearing:

20            IT IS HEREBY ORDREED, ADJUDGED AND DECREED:
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              1.    The Motion to Shorten Time is Granted.
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              2.    Counsel will include a copy of the Order Shortening Time with the Notice of
23
      Hearing on Debtor’s Motion to Allow Reverse Mortgage that will be sent to all creditors.
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              3.    That the hearing on Debtor’s Motion to Allow Reverse Mortgage shall be held
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26    on July, 15 2022 at 9:30 am. Responses shall be filed on or before July 14, 2022 at 3:00 p.m.

27   EX PARTE ORDER TO SHORTEN                              HENRY & DEGRAAFF, PS
     TIME - 1                                                113 Cherry St, PMB 58364
                                                                  Seattle, WA 98104
                                                         V (206) 330-0595 / F (206) 400-7609
      Case 22-10025-TWD         Doc 49       Filed 07/11/22     Ent. 07/11/22 07:51:30           Pg. 1 of 2
          4.     Notice shall be provided to parties in interest via first class mail by July 11, 2022.
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 2                                       // END OF ORDER//

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      Presented by:
 4
      HENRY & DEGRAAFF, PS
 5
      /s/ Christina L Henry
 6    Christina L Henry, WSBA# 31273
      113 Cherry St, PMB 58364
 7    Seattle, WA 98104-2205
      Tel# 206-330-0595
 8    chenry@hdm-legal.com
      Attorney for the Debtor
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27   EX PARTE ORDER TO SHORTEN                              HENRY & DEGRAAFF, PS
     TIME - 2                                                113 Cherry St, PMB 58364
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